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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION -CINCINNATI

 HUNTER DOSTER, et. al.,                           Case No. 1:22-cv-84

                      Plaintiffs,                  Judge Matthew W. McFarland

               V.


 Hon. FRANK KENDALL, et. al.,

                      Defendants.



           ORDER GRANTING IN PART AND DENYING IN PART
       PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION (Doc. 13)
               AND ISSUING A PRELIMINARY INJUNCTION


      This matter is before the Court on Plaintiffs' Motion for a Preliminary Injunction

(Doc. 13). Defendants filed a response in opposition to Plaintiffs' Motion (Doc. 27), to

which Plaintiffs replied (Doc. 30). Additionally, the Court held a preliminary injunction

hearing on March 25, 2022. Thus, the motion is fully briefed and ripe for review. As

explained below, Plaintiffs' Motion for a Preliminary Injunction is GRANTED IN PART

and DENIED IN PART.

I.     RELIGIOUS LIBERTY

      "For centuries now, people have come to this country from every corner of the

world to share in the blessing of religious freedom. Our Constitution promises that they

may worship in their own way, without fear of penalty or danger, and that in itself is a

momentous offering." Town of Greece, N. Y. v. Galloway, 572 U.S. 565,615 (2014) (Kagan, J.,
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dissenting). That momentous offering clearly is in great peril as to Plaintiffs herein.

       The world as we knew it changed in March of 2020 with COVID-19's inception

and the shutdown of most of the world. While a return to normalcy is desired, the cost

of the return should never jeopardize religious liberty. As Justice Gorsuch recently

explained, "Even if the Constitution has taken a holiday during the pandemic, it cannot

become a sabbatical." Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 70 (2020)

(Gorsuch, J., concurring). In this Court's opinion, assuming the Constitution has taken a

holiday, the holiday is long over, and it needs to get back to work, NOW.

       From the time our Founding Fathers signed the Declaration of Independence and,

later, the United States Constitution, United States citizens have been provided with the

freedom to practice their religious beliefs as they deem fit. Religious liberty was just as

important to those who founded this nation as it is today.          As John Adams said,

"[n]othing is more dreaded than the national government meddling with religion." John

Adams, From John Adams to Benjamin Rush, 12 June 1812, National Archives: Founders

Online, https:/ /founders.archives.gov/ documents/ Adams/99-02-02-5807 (last viewed

Mar. 28, 2022). And, as James Madison explained, " [t]he Religion then of every man must

be left to the conviction and conscience of every man: and it is the right of every man to

exercise it as these may dictate." James Madison, Memorial and Remonstrance Against

Religious Assessment, [CA. 20 June] 1785, National Archives: Founders Online,

https:/ /founders.archives.gov/ documents/Madison/01-08-02-0163 (last visited Mar.




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28, 2022).1

         Since December 15, 1791, when the Bill of Rights was ratified, the Free Exercise

Clause of the First Amendment has been a safe haven for this country's religious liberty.

"Congress shall make no law respecting an establishment or religion, or prohibiting the

free exercise thereof ...." U.S. Const. amend. I. It has been this way since the beginning

of the Nation-even, critically, in the context of military conscription. Consider our own

history. In the Colonies, service in the militia was required of able-bodied young men.

Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1905-06 (2021) (Alito, J., concurring). But

Quakers, Mennonites, and other religious groups objected to militia service based on

their religious convictions. Conscription would do "violence to their consciences." Id. at

1906. Of course, being a new Nation, we were often" desperately in need of soldiers." Id.

at 1906. Indeed, "the very survival of the new Nation often seemed in danger." Id. The

stakes were high. Members of Congress faced "bleak personal prospects if the war was

lost." Id. But that did not stop the early Continental Congress from granting religious

accommodations. Id.

         And the Free Exercise Clause has withstood the test of time. In 1963, Justice Clark

wrote, "[t]he Free Exercise Clause ... withdraws from legislative power, state and federal,

the exertion of any restraint on the free exercise of religion. Its purpose is to secure

religious liberty in the individuals by prohibiting any invasions thereof by civil

authority." Sch. Dist. of Abington Twp., Pa. v. Schempp, 374 U.S. 203, 222-23 (1963).



1James Madison has been credited by many as the Father of Religious Liberty. For a detailed historical
discussion of his work, see Rodney K. Smith, James Madison: the Father of Religious Liberty (2019).

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         In fact, the Religious Freedom Restoration Act ("RFRA") was enacted in 1993 to

further protect United States citizens' right to religious liberty.                  Under the RFRA,

"Government shall not substantially burden a person's exercise of religion even if the

burden results of general applicability . . ." 42 U.S.C. § 2000bb-1.                     For when the

government saddles an individual with a disadvantage "solely on the basis of religion, it

violates the Free Exercise Clause no less than if it had imposed a special tax." Locke v.

Davey, 540 U.S. 712, 727 (2004) (Scalia, J., dissenting).

         Sadly, religious liberty has been called into question time and time again

throughout our nation's history.2 Recently, now District of Columbia Circuit Judge Justin

R. Walker noted, "the Free Exercise Clause remains a too-often tested bulwark against

discrimination toward people of faith, from religious cakemakers to religious

preschoolers." On Fire Christian Ctr., Inc. v. Fischer, 453 F. Supp. 3d 901, 907 (W.D. Ky.

2020). However, the importance of religious liberty cannot be understated:

         That' s because, as de Tocqueville wrote, religion, which among the
         Americans never directly takes part in the government of society, must be
         considered as the first of their political institutions; for if it does not give
         them the taste of liberty, it singularly facilitates the use of it.

Id. (quotations omitted).

         Now, in front of the backdrop of this country's emphatic protection of religious

liberty, this Court is faced with the specific instances before it.




2 See Alexis Miller Buese, Dino LaVerghetta, Abigail Hudson, 2020: COVID-19 versus the First Amendment,
Daily Journal Oanuary 22, 2021) for a discussion on cou rt rulings on attacks of individuals' constitutional
right to freed om of religion and the Free Exercise Clause during the COVID-19 pandemic.

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II.    FACTS

       This action involves eighteen active duty and active reservist Airmen stationed

across the United States at Wright-Patterson Air Force Base, Ohio; Hulburt Field, Florida;

Randolph Air Force Base and Dobbins Air Reserve Base, Georgia; and March Air Reserve

Base, Riverside County, California ("Plaintiffs"). These Plaintiffs seek injunctive relief

from being required by the Air Force to receive the COVID-19 vaccines in violation of

their sincerely held religious beliefs and despite having applied for religious exemptions

from the vaccine. Plaintiffs bring this action against numerous Air Force officials,

including the Secretary and Surgeon General of the Air Force, claiming statutory and

constitutional violations of their rights to free exercise of religion.

       A.     The Air Force Mandates the COVID-19 Vaccine

       On August 24, 2021, almost 18 months after the beginning of the COVID-19

pandemic and approximately 12 months after the vaccines had been available to the

public, "the Secretary of Defense issued a mandate for all members of the Armed Forces

under the Department of Defense authority on active duty or in the Ready Reserve,

including the National Guard, to immediately begin full vaccination against COVID-19."

(Memorandum for Department of the Air Force Commanders, 3 Sept. 2021, Plaintiffs PI

Hearing Ex. 2.) The COVID-19 vaccination mandate, however, allows for medical,

administrative,    and   religious    exemptions.    (COVID-19      Mandatory Vaccination

Implementation Guidance for Service Members, Doc. 27-7, Pg. ID 1676-47, 1649.) The

mandate also provides that, "[u]nless exempted, Active Duty Airmen and Guardians will

be fully vaccinated by 2 November 2021. Unless exempted, Ready Reserve, to include

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the National Guard, Airmen and Guardians will be fully vaccinated by 2 December 2021."

(Memorandum for Department of the Air Force Commanders 3 Sept. 2021, Plaintiffs PI

Hearing Ex. 2.)

       The Air Force sent a Memorandum relating to vaccination exemptions to Airmen

on December 7, 2021. (Supplemental Coronavirus Disease 2019 Vaccination Policy, Doc.

27-8, Pg. ID 1656-67). This Memorandum provided that:

       Commanders will take appropriate administrative and disciplinary actions
       consistent with federal law and Department of the Air Force (DAF) policy
       in addressing service members who refuse to obey a lawful order to receive
       the COVID-19 vaccine and do not have a pending separation or retirement,
       or medical, religious or administrative exemption. Refusal to comply with
       the vaccination mandate without an exemption will result in the member
       being subject to initiation of administrative discharge proceedings.

(Id. at Pg. ID 1656.)

       The Memorandum continued:

       Regular service members who continue to refuse to obey a lawful order to
       receive the COVID-19 vaccine after their exemption request or final appeal
       has been denied or retirement/ separation has not been approved will be
       subject to initiation of administrative discharge. Discharge characterization
       will be governed by the applicable Department of the Air Force
       Instructions. Service members separated due to refusal of the COVID-19
       vaccine will not be eligible for involuntary separation pay and will be
       subject to recoupment of any unearned special or incentive pays.

(Id. at Pg. ID 1657.)

       Lastly, regarding unvaccinated reservists, the Memorandum provides:

       Unvaccinated members who request a medical exemption or RAR will be
       temporarily exempt from the COVID-19 vaccination requirement while
       their exemption request is under review. For those members who have
       declined to be vaccinated, or have not otherwise complied with the
       guidance above, they are potentially in violation of the Uniform Code of
       Military Justice (UCMJ) by refusing to obey a lawful order. Commanders

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       should use their discretion as appropriate when initiating disciplinary
       action.

(Id. at Pg. ID 1658.)

       B.      Potential Consequences For Refusing the Vaccine

       Defendants submitted the declaration of Colonel Elizabeth M. Hernandez to

explain the consequences Airmen faced if they refused to get vaccinated without

receiving an exemption. (Declaration of Colonel Elizabeth M. Hernandez ("Col.

Hernandez Dec."), Doc. 27-14, Pg. ID 1940-46.) Col. Hernandez explained that,

"[p]otential dispositions for failing to obey a lawful order to receive the COVID-19

vaccination    include   adverse   administrative    actions,   non-judicial   punishment,

administrative demotions, administrative discharges, and courts-martial." (Id. at Pg. ID.

1941.) Administrative actions include: "Records of Individual Counseling, Letters of

Counseling, Letters of Admonishment, and Letters of Reprimand." (Id.) She continues,

stating that those who refuse to comply with the COVID-19 vaccination mandate, "absent

an exemption, regular service members will be subject to initiation of administrative

discharge proceedings." (Id. at Pg. ID 1943.) Lastly, and most severely, Col. Hernandez

outlines the possible sentences in a court-martial, which include "confinement, reduction

in grade (enlisted only), and punitive discharges." (Id. at Pg. ID 1944.)

       C.      Air Force's General Response to Exemption Requests

       The Air Force provides their COVID-19 virus statistics on the Air Force's website.

These statistics include the total number of COVID-19 cases, percentage of Airmen

vaccinated, approved medical and administrative exemptions, and number of pending,

approved, and denied religious exemption requests, both at the initial and appeals stage.

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(DAF COVID-19 Statistics - March 22, 2022, Plaintiffs' PI Hearing Ex. 10.) As of March

22, 2022, 98% of activity duty Airmen were fully vaccinated and 93.3% of Guard and

Reserve Airmen were fully vaccinated. (Id.) Thus, 96.4% of the Air Force was fully

vaccinated as of March 22, 2022. (Id.) Additionally, as of March 22, 2022, the Air Force

had approved 1,129 medical exemptions and 1,426 administrative exemptions, equaling

a total of 2,555 total approved medical and administrative exemptions. (Id.)

      As of March 22, 2022, the Air Force had adjudicated 4,403 religious exemption

requests, but of those requests at the initial stage, the Air Force had only granted 21

requests. (Id.) That is right-only 21. Thus, at the initial stage, the Air Force had only

granted .47% of religious exemptions heard. (Id.) The Surgeon General of the Air Force

had adjudicated 1,162 appeals of denials of religious exemption requests. (Id.) Of those

1,162 appeals adjudicated, the Surgeon General only approved two (2) additional

religious exemption requests. (Id.) So, at the appeals stage, the Air Force only approved

.17% of appeals of denials of religious exemption requests. (Id.) Consequently, of the

thousands of religious exemptions the Air Force has adjudicated, the Air Force has only

approved a shameful number of 23 religious exemptions. (See id.)

      D.     Plaintiffs' Requests for Religious Exemption from the Vaccine

      Here, each Plaintiff in this case has, at a minimum, filed a religious exemption

request with the Air Force. (Ver. Compl., Doc. 1, Pg. ID 7-11.) Each Plaintiff was

interviewed by an Air Force Chaplain, who confirmed (in writing) the sincerity of each

Plaintiff's religious belief. (Id.) Four Plaintiffs, 2LT Connor McCormick, Maj. Daniel

Reineke, Lt. Col. Edward Stapanon, III, and Maj. Patrick Pottinger, have had their

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religious exemption requests denied and currently have appeals of such denials pending

with the Air Force Surgeon General. (Id. at Pg. ID 9-10; see also Decision Regarding 2LT

McCormick Religious Accommodation Request, Doc. 38-5, Pg. ID 2655.)3 Additionally,

six Plaintiffs, 2LT Hunter Doster, Maj. Paul Clement, SSgt Adam Theriault, SRA Joe Dills,

Maj. Heidi Mosher, and SMSgt Chris Schuldes, have had their initial religious exemption

request and their appeal of such denial to the Air Force Surgeon General denied. (Id. at

Pg. ID 7-10; see also Decision Regarding Maj. Mosher Religious Accommodation Appeal,

Doc. 38-1, Pg. ID 2631; Decision Regarding 2LT Doster Religious Accommodation

Appeal, Doc. 19-1, Pg. ID 944.)4

         All Plaintiffs face administrative actions, non-judicial punishment, administrative

demotions, administrative discharges, and courts-martial if Plaintiffs continue to refuse

to get the COVID-19 vaccine.

         During the preliminary injunction hearing, the Court heard testimony from three

Plaintiffs. Their individual circumstances are briefly summarized as follows.

                1.       21T Hunter Doster

         Plaintiff 2LT Hunter Doster submitted a religious exemption request on

September 7, 2021. (Doster Religious Accommodation Request, Denial and Subsequent

Appeal, Doc. 8-4, Pg. ID 79.) In his request, 2LT Doster explains his religious convictions



3 Plaintiff 2LT McCormick's religious exemption request was denied after Plaintiffs' filed their Verified
Complaint and, thus, was filed at a later date. (See Decision Regarding 2LT McCormick Religious
Accommodation Request, Doc. 38-5.)
4 Plaintiffs Maj. Mosher and 2LT Doster' s appeals of the denial of their religious requests were denied after

Plaintiff filed their Verified Complaint and, thus, were filed at a later date. (See Decision Regarding Maj.
Mosher Religious Accommodation Appeal, Doc. 38-1; Decision Regarding 2LT Doster Religious
Accommodation Appeal, Doc. 19-1.)

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and the reasons he is seeking an exemption. (Id.) Specifically, 2LT Doster stated,

        Two foundational components of this New Covenant are that all life is
        created by God and is therefore sacred and that I am the Temple of the Lord
        because God's Spirit, The Holy Spirit, dwells in me. Due to these bedrock
        principles of my faith, I cannot in good conscience take the COVID-19
        Vaccinations because of their ties with aborted fetal tissue, and my beliefs
        in the spiritual gift of healing.

(Id.)

        2LT Doster included an attachment with his request, approximately three pages

long, that additionally explains his convictions. (Id. at Pg. ID 81-83.) He also submitted

a letter from Pastor Isaacs, which stated,

               Put simply, being forced to benefit from the taking of a life of a child
        by taking this vaccine will cause a burden on Hunter's ability to practice his
        faith with a clear conscience before a Holy God . .. I am asking that you
        strongly and advisedly afford him the opportunity to live according to his
        deeply held religious convictions by granting him an exemption to these
        vaccines.

(Id. at Pg. ID 84-85.)

        2LT Doster also submitted a letter from Reverend Patrick Tanton that supported

his religious exemption request. (Id. at Pg. ID 86.) In addition, on October 1, 2021, Air

Force Chaplain, Maj. Krista Ingram, also submitted a Memorandum in Support of 2LT

Doster' s religious exemption request, stating:

        Current vaccination requirements place a substantial burden on Lt Doster's
        free exercise of religion by requiring him to participate in an activity
        prohibited by his sincerely held beliefs. He will submit religious
        accommodation requests for other vaccinations as they are necessary, and
        he is prepared to choose obedience to God over military service.

(Id. at Pg. ID 87.)

        Despite the resounding support for 2LT Doster's religious exemption request by


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religious leaders within and outside the Air Force, his request was denied on January 6,

2022. (Id. at Pg. ID 92.) In a letter signed by Lieutenant General Marshall Webb, this
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denial stated, [f]irst, the Air Force's compelling government interest outweighs your

individual belief and no lesser means satisfy the government's interest." (Id.) The denial
                                                                  II
continued, stating that the measures the Air Force had taken for the past 18 months"
                                                        11
could no longer be afforded to 2LT Doster because [c]ontinuing to implement these

drastic measures detracts from readiness, efficiency and good order and discipline in the

force, and is unsustainable as the long-term solution." (Id.)

       2LT Doster appealed this decision on January 18, 2022, relying on the same

religious covenants as his initial request to establish his sincerely held religious beliefs.

(Id. at Pg. ID 94.) However, the Air Force denied 2LT Doster's appeal on February 22,

2022. Signed by the Air Force Surgeon General Robert Miller, the denial states,

       The Department of the Air Force has a compelling government interest in
       requiring you to comply with the requirement for the COVID-19
       immunization because preventing the spread of disease among the force is
       vital to mission accomplishment. In light of your circumstances, your
       present duty assignment requires intermittent to frequent contact with
       others and is not fully achievable via telework or with adequate distancing .
       . . Foregoing the above immunization requirement would have a real
       adverse impact on military readiness and public health and safety. There
       are no less restrictive means available in your circumstance as effective as
       receiving the above immunization in furthering these compelling
       government interests.

(Doster Appeal Denial, Doc. 19-1, Pg. ID 944.)

       Then, following the denial of his appeal, 2LT Doster received a Memorandum,

requiring he get vaccinated within five days. (Id. at Pg. ID 945.) The memorandum
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concluded, stating [f]ailure to comply with the lawful order may result in administrative

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and/ or punitive action for Failing to Obey an Order under Article 92, Uniform Code of

Military Justice." (Id. at Pg. ID 946.)

               2.       SrA Joseph Dills

        Like 2LT Doster, SrA Joseph Dills filed a religious exemption request on October

2, 2021. (SrA Joseph Dills Religious Exemption Request, Doc. 8-5, Pg. ID 131.) In support

of his request, SrA Dills stated,

        I am a Patriot and it is an honor to be an Airman. I wear my uniform with
        pride and I truly want to do my part to give back to my country... With
        that, my faith comes first. I am pro life and believe in protecting the unborn.
        This vaccine contains used cells originally isolated from fetal tissue often
        referred to fetal cells. Some of which are derived from aborted fetuses.

(Id.)

        Dills' s religious exemption request was accompanied by a Memorandum from

Wing Chaplain Brandon Stephens. (Chaplain Stephens Memorandum in Support of SrA

Dills Religious Exemption Request, Doc. 36-2, Pg. ID 2375-77.) Chaplain Stephens,

affirming SrA Dills' sincerely held religious beliefs, stated:

        Sr A Joseph Dills has a religious and ethical conviction and believes that
        any use of a vaccine that uses aborted fetal cell tissue for testing and
        manufacturing or introduced into a vaccine will be a violation of his
        religious and ethical conviction of his faith.

(Id. at Pg. ID 2375.)

        Although the exact date is not provided within the record, SrA Dills's religious

exemption request was denied in November of 2021. (Ver. Compl., Doc. 1, Pg. ID 11.)

SrA Dills immediately appealed the denial on November 5, 2021. (SrA Appeal and

Denial, Doc. 42-2, PG. ID 2800.) Such appeal cited to the same sincerely held religious

beliefs as his initial religious exemption request. (Id.) SrA Dills's appeal was denied on
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December 16, 2021. (Id. at 2817.) Other than swapping out names and positions, SrA

Dills's appeal denial was identical to 2LT Doster. (Id.) After the Air Force denied SrA

Dills's appeal, he received a Letter of Reprimand on January 3, 2022 for refusing to get

the COVID-19 vaccine. (Letter of Reprimand, Doc. 8-5, Pg. ID 135.)

               3.    LT Col. Edward Stapanon, III

        LT Col. Edward Stapanon, III filed a religious exemption request on September 21,

2021. (LT Col. Edward Stapanon Religious Exemption Requests, Appeals and Denials,

Doc. 33-4, Pg. ID 2174.) In his religious exemption, LT Col. Stapanon stated:

        This request is based on my sincerely held belief regarding the sanctity of
        innocent human life. This belief stems from my decades-long, deeply-held
        devotion to the Catholic faith and its teachings.. . Based on this belief, I
        believe abortion is the intentional murder of human life. . . Therefore I
        cannot before God, and in good conscience, accept a vaccine when the
        development, testing, or production of that vaccine has made use of
        morally compromised cell lines derived from aborted babies.
        Unfortunately, each of the three available COVID-19 vaccines in the United
        States used these cell lines at some stage of manufacturing or testing.

(Id.)

        Although the specifics of such interview and findings are not easily identifiable in

the record, "an Air Force Chaplain interviewed Lt. Colonel Stapanon on September 21,

2021 and confirmed the sincerity of his beliefs[.]" (Ver. Comp!., Doc. 1, Pg. ID 10.)

        Despite LT Col. Stapanon's sincerely held religious beliefs, such request was

denied by the Air Force on March 4, 2022. (Stapanon Denial of Religious Exemption

Request, Doc. 33-3, Pg. ID 2163.) Again, other than swapping out names and positions,

LT Col. Stapanon's religious exemption request denial is identical to 2LT Doster. (Id.) LT

Col. Stapanon filed his appeal of such denial on March 13, 2022, and the appeal is still

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pending before the Air Force Surgeon General. (Stapanon Appeal, Doc. 33-4, Pg. ID

2166.)

III.     PROCEDURAL HISTORY

         Plaintiffs filed the Verified Complaint on February 16, 2022, bringing a violation

of the Religious Freedom Restoration Act, 42 U.S.C. § 200066-l(a)-(b), and violation of the

First Amendment of the United States Constitution. (Ver. Compl., Doc. 1, Pg. ID 17-18.)

Since filing their Verified Complaint and Motion for a Preliminary Injunction (Doc. 13),

the parties have filed multiple Notices of Supplemental Authority (Doc. 32, 41, 43 & 44),

Notices of Additional Factual Developments (Docs. 33 & 38), and Notices of Additional

Materials (Docs. 42 & 36) regarding Plaintiffs' Motion for injunctive relief. Plaintiffs have

also filed, in addition to motions seeks injunctive relief, a Motion to Amend or Correct

(Doc. 11) and a Motion for Class Certification (Doc. 21). Defendants have filed a Motion

to Sever (Doc. 35). All remain pending before the Court.

IV.      LAW AND ANALYSIS

         A.    Justiciability

         Before the Court can analyze the merits of whether Plaintiffs are entitled to a

preliminary injunction, the Court must first confirm the matter is reviewable. The

Government argues that this Court lacks jurisdiction over this case because: (1) it is not

ripe for the Court's review, and (2) not all Plaintiffs have exhausted their administrative

remedies with the Air Force.        Part and parcel with the Government's exhaustion

argument, however, is whether the Court should review a military decision at issue in

this litigation.   See Harkness v. Sec'y of the Navy, 858 F.3d 437, 444 (6th Cir. 2017).

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Accordingly, the Court analyzes both the ripeness and judicial reviewability of the Air

Force's denial of the religious exemption requests herein.

              1.      Ripeness

       The ripeness doctrine "prevent[s] the courts, through premature adjudication,

from entangling themselves in abstract disagreements." Thomas v. Union Carbide Agric.

Prods. Co., 473 U.S. 568,580 (1985) (citation omitted). Previously, the Supreme Court has

instructed courts to evaluate generally "both the fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration." Airline Pros. Ass'n of

Int'l Bhd. of Teamsters, Loe. Union No. 1224, AFL-CIO v. Airborne, Inc., 332 F.3d 983, 988 (6th

Cir. 2003) (quoting Abbott Lab'ys v. Gardner, 387 U.S. 136, 149 (1967)).

       The Sixth Circuit further identified the following factors to determine if a

constitutional violation claim is ripe: "(1) the likelihood that the harm alleged by the

plaintiffs will ever come to pass; (2) whether the factual record is sufficiently developed

to produce a fair adjudication of the merits of the parties' respective claims; and (3) the

hardship to the parties if judicial relief is denied at this stage in the proceedings." Berry

v. Schmitt, 688 F.3d 290, 298 (6th Cir. 2012). Additionally, "[i]n the First Amendment

context, we evaluate the likelihood of the harm factor by focusing on how imminent the

threat of prosecution is and whether the plaintiff has sufficiently alleged an intention to

refuse to comply with the statute." Id. In this context, the Sixth Circuit has found that

the plaintiff established hardship by the denial of judicial relief, stating that" [Plaintiff] is

faced with a present quandary- speak now and risk punishment or forever hold his

peace." Id.

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       A similar conclusion is required in this case. First, there is a substantial likelihood

that the harm to Plaintiffs will come to pass.         Plaintiffs continue to face serious

repercussions by refusing to get the COVID-19 vaccine in light of Defendants' denial of

their religious exemptions.     Specifically, as Col. Hernandez explained, "[p]otential

dispositions for failing to obey a lawful order to receive the COVID-19 vaccination

include adverse administrative actions, non-judicial punishment, administrative

demotions, admirative discharges, and courts-martial." (Col. Hernandez Dec., Doc. 27-

14, Pg. ID 1940.) Further, each of the Plaintiffs who testified at the hearing indicated that

they were being threatened with imprisonment for refusing the vaccine without an

exemption. Accordingly, an imminent threat of punitive action by Defendants is present

and appears likely to come to pass.

       Second, the record is sufficiently developed for the Court to fairly adjudicate the

merits of Plaintiffs' Motion. Each party provided significant briefing as well as numerous

declarations and evidence in support of their positions, and the Court heard several hours

of testimony during the preliminary injunction hearing. Thus, the second factor outlined

in Bern; is satisfied.

       Finally, Plaintiffs stand to face significant hardship if the Court does not address

the issue at this time. Plaintiffs face severe punitive action due to their refusal to receive

the COVID-19 vaccine-including prison as made clear during the evidentiary hearing.

Like in Berry, Plaintiffs are faced with a present quandary - refuse to get vaccinated now

and face punishment, including criminal prosecution and prison, or get vaccinated in

violation of their sincerely held religious beliefs. See Berry, 688 F.3d at 298. Accordingly,

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the Court concludes that Plaintiffs' claims are ripe for adjudication.

                 2.   Judicial Reviewability of a Military Decision

       Generally, "[a]n internal military decision is unreviewable unless two initial

requirements are satisfied: (a) an allegation of the deprivation of a constitutional right, or

an allegation that the military has acted in violation of applicable statutes or its own

regulations, and (b) exhaustion of available intraservice corrective measures." Harkness,

858 F.3d at 444 (citing Mindes v. Seaman, 453 F.2d 197,201 (5th Cir. 1971)). "If the plaintiff

meets both prerequisites, then four factors must be weighed to determine justiciability:

(1) the nature and strength of the plaintiff's challenge; (2) the potential injury to the

plaintiff of withholding review; (3) the degree of anticipated interference with the

military function; and (4) the extent to which military experience or discretion is

involved." Id.

       Here, Plaintiffs undisputedly alleged the deprivation of a constitutional right,

(Ver. Compl., Doc. 1, Pg. ID 1, 17-18), and so only the question of exhaustion is at issue

as to the identified prerequisites. To that point, Defendants argue Plaintiffs have failed

to exhaust their administrative remedies, and thus this Court should refuse to hear this

matter.

       "The basic purpose of the exhaustion doctrine is to allow an administrative agency

to perform functions within its special competence- to make a factual record, to apply

its expertise, and to correct its own errors so as to moot judicial controversies." Parisi v.

Davidson, 405 U.S. 34, 38 (1972). However, the Sixth Circuit has adopted exceptions to

this general rule, one being futility, which occurs "where pursuit of administrative

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remedies would be a futile gesture. " Shawnee Coal Co. v. Andrus, 661 F.2d 1083, 1093 (6th

Cir. 1981).

       In a factually similar case to this one, the Fifth Circuit analyzed the question of

futility using the Mindes standard, the same test adopted by the Sixth Circuit. U.S. Navy

Seals 1-26 v. Biden, 27 F.4th 336, 346 (5th Cir. 2022). There, that court determined that,

when evidence suggests that exhaustion is futile because the military "has effectively

stacked the deck against even those exemptions supported by Plaintiffs' immediate

commanding officers and military chaplains[,]" the second prerequisite is satisfied. Id. at

347.

       After hearing the testimony of three Plaintiffs and reviewing the record, there is

no question to the Court that exhaustion in this instance is futile. As of March 22, 2022,

the Air Force had adjudicated 4,403 religious exemptions. (DAF COVID-19 Statistics -

March 22, 2022.) Of those 4,403 religious exemptions, the Air Force granted only 21. (Id.)

Additionally, the Air Force has ruled on 1,162 appeals of the denials of religious

exemptions. (Id.) And, of those 1,162, the Air Force has granted only 2 appeals. (Id.) In

light of these farcical statistics, this Court finds that the Air Force "has effectively stacked

the deck" against service members seeking religious exemptions, see U.S. Navy Seals 1-26,

27 F.4th at 347, and thus further finds that exhaustion of the Air Force proceedings on

any religious exemptions is futile.

       Next, the Court turns to the applicable four factors. Harkness, 858 F.3d at 444. The

first factor, the nature and strength of the plaintiff's challenge, weighs in favor of judicial

review. Plaintiffs are challenging the Air Force's administration of its COVID-19

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vaccination mandate, including the administration of religious exemption. The challenge

involves free exercise of religion protections under both the RFRA and the First

Amendment. As the Northern District of Texas recently explained, because "Plaintiffs

move for a preliminary injunction based on specific violations of their constitutional

rights under the Free Exercise Clause, plus similar violations of the RFRA[,] Plaintiffs'

claims are squarely in the category of claims most favorable for judicial review." U.S.

Navy SEALs 1-26 v. Biden, No. 4:21-cv-01235-O, 2022 WL 34443, at *7 (N.D. Tex. Jan. 3,

2022). Also, as discussed below, this Court finds that Plaintiffs' claims are strong and

likely to succeed on the merits. Accordingly, the first factor weighs in favor of

justiciability.

       The second factor, the potential injury to the plaintiff of withholding review, also

weighs in favor of judicial review.       If the Court withholds review, Plaintiffs find

themselves in the iniquitous position of choosing between their First Amendment

freedoms and their livelihoods and benefits for each of them and their families.

Poffenbarger v. Kendall, No. 3:22-cv-1, 2022 WL 594810, at *9 (S.D. Ohio Feb. 28, 2022). Also,

Plaintiffs could face criminal charges or even prison due to their refusal to receive the

COVID-19 vaccine. Thus, the second factor weighs in favor of justiciability.

        Regarding the third factor, which asks this Court to examine the degree of

anticipated interference with the military function, "[i)nterference per se is insufficient

since there will always be some interference when review is granted ...." Mindes, 453

F.2d at 201. Thus, "courts ought to abstain only where the interference would be such as

to seriously impede the military in the performance of vital duties." U.S. Navy Seals 1-26,

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27 F.4th at 348 (internal quotations omitted). Here, the interference with military function

would be minimal because only a very small percentage of Air Force service members

remain unvaccinated. As of March 22, 2022, 96.4 % of the Air Force is fully vaccinated.

(DAF COVID-19 Statistics, March 22, 2022.) Of the remaining unvaccinated, as of March

22, 2022, the Air Force has granted 1,129 medical exemptions and 1,426 administrative

exemptions. (Id.) Thus, "[i]t seems illogical to think, let alone argue, that [Plaintiffs']

religious-based refusal to take a COVID-19 vaccine would seriously impede military

function when the Air Force has at least [2,500] other service members still on duty who

are just as unvaccinated as [Plaintiffs]." Air Force Officer v. Austin, No. 5:22-cv-009, 2022

WL 468799, at *7 (M.D. Georgia Feb. 15, 2022); see also U.S. Navy Seals 1-26, 27 F.4th at 349

("It is therefore 'illogical ... that Plaintiff[s'] religious-based refusal to take a COVID-19

vaccine would 'seriously impede' military function when the [Navy] has [over 5,000]

service members still on duty who are just as unvaccinated as [the Plaintiffs]"). Further,

to argue an impediment to military functioning while at the same time threatening

disciplinary action to the unvaccinated defies logic and common sense. Thus, the third

factor does not weigh against justiciability.

       Lastly, the fourth factor asks this Court to examine the extent to which military

experience or discretion is involved.      While "[c]ourts should defer to the superior

knowledge and experience of professionals in matters such as promotions or orders

directly related to specific military functions," see Mendes, 453 F.2d at 201-02, "the

particular issues and constitutional questions presented here are not so foreign to those

outside the military as to give the Court serious concern about its ability to decide the

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case." Poffenbarger, 2022 WL 594810, at *9. And, where the evidence suggests that the

military is intentionally ignoring, and will continue to ignore, RFRA and the First

Amendment's protections, such as here, "courts must intervene because generals don't

make good judges- especially when it comes to nuanced constitutional issues." U.S.

Navy Seals 1-26, 27 F.4th at 349; see also Air Force Officer, 2022 WL 468799, at *8 (" ... judges

don't make good generals... But, by that same token, it's a two-way street: Generals don't

make good judges-especially when it comes to nuanced constitutional issues"). The

Constitution appropriately places in Article III judges the duty to defend it and secure its

religious liberties to all. Thus, the fourth factor does not weigh against justiciability.

       Thus, this Court finds that this matter is reviewable. Plaintiffs assert serious

constitutional violations and have either exhausted their administrative remedies or

exhaustion is futile. Further, the remaining factors weigh in favor of this Court's present

review of these issues. Accordingly, the Court finds that this matter is justiciable.

V.     PRELIMINARY INJUNCTION FACTORS

       Federal Rule of Civil Procedure 65(a) allows the Court to issue a preliminary

injunction against an adverse party. Fed. R. Civ. P. 65(a). If a Court grants a preliminary

injunction, the Court must "(A) state the reasons why it issued; (B) state its terms

specifically; and (C) describe in reasonable detail-and not by referring to the complaint

or other document-the act or acts restrained or required." Fed. R. Civ. P. 65(d)(1).

       "The purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held." Univ. of Texas v. Camenisch,

451 U.S. 390, 395 (1981). "Given this limited purpose, and given the haste that is often

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necessary if those positions are to be preserved, a preliminary injunction is customarily

granted on the basis of procedures that are less formal and evidence that is less complete

than in a trial on the merits." Id. "A party thus is not required to prove his case in full at

a preliminary-injunction hearing, and the findings of fact and conclusions of law made

by a court granting a preliminary injunction are not binding at trial on the

merits." Id. (internal citation omitted).

          In determining whether to impose a preliminary injunction, this Court is required

to consider four factors: "(1) the movant's likelihood of success on the merits; (2) whether

the movant will suffer irreparable injury without a preliminary injunction; (3) whether

issuance of a preliminary injunction would cause substantial harm to others; and (4)

whether the public interest would be served by issuance of a preliminary injunction."

McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012). "The harm to the opposing party and

the public interest factors merge when the Government is the opposing party."

Poffenbarger, 2022 WL 594810, at *7 (quoting Wilson v. Williams, 961 F.3d 829,845 (6th Cir.

2020)).

          These four factors are "to be balanced and not prerequisites that must be satisfied."

Id. "In First Amendment cases, however, the crucial inquiry is usually whether the

plaintiff has demonstrated a likelihood of success on the merits." Bays v. City of Fairborn,

668 F.3d 814, 819 (6th Cir. 2012). This is because "the issues of the public interest and

harm to the respective parties largely depend on the constitutionality of the state action."

Id. (cleaned up). Thus, "a court must not issue a preliminary injunction where the movant

presents no likelihood of merits success." Wilson, 961 F.3d at 844. "The party seeking the

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preliminary injunction bears the burden of justifying such relief, including showing

irreparable harm and likelihood of success on the merits." McNeilly, 684 F.3d at 615.

       A.     Likelihood of Success on the Merits

              1.     Religious Freedom Restoration Act

       Plaintiffs' first claim is a violation of the RFRA. RFRA was enacted "in 1993 in

order to provide very broad protection for religious liberty." Burwell v. Hobby Lobby

Stores, Inc., 573 U.S. 682, 693 (2014). Indeed, "[b]y enacting RFRA, Congress went far

beyond what [the Supreme Court] has held is constitutionally required." Id. at 706.

RFRA, per its plain text, applies to the military.    See 42 U.S.C. § 2000bb-1; 42 U.S.C. §

2000bb-2(1); Poffenbarger, 2022 WL 594810, at *8.

       Specifically, RFRA states that the "Government shall not substantially burden a

person's exercise of religion even if the burden results from a rule of general applicability,

except as provided in subsection (b)." 42 U.S.C. § 2000bb-l(a). Subsection (b) provides

an exception to this overarching prohibition, providing that the "Government may

substantially burden a person's exercise of religion only if it demonstrates that

application of the burden to the person - (1) is in furtherance of a compelling

governmental interest; and (2) is the least restrictive means of furthering that compelling

governmental interest." 42 U.S.C. § 2000bb-l(b). A court may grant appropriate relief

against the government when an individual's religious exercise has been burdened in

violation of the RFRA. 42 U.S.C. § 2000bb-l(c).

       Defendants concede that Plaintiffs possess sincerely held religious beliefs. Thus,

the Court must address whether: (1) Plaintiffs' sincerely held religious beliefs are being

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substantially burdened by Defendants; (2) the substantial burden, if it exists, is in

furtherance of the Government's compelling interest; and (3) the substantial burden is

the least restrictive means of furthering Defendants' compelling interests. The Court

analyzes each in turn.

                      a.     Substantial Burden

         "The substantial-burden test asks whether the Government is effectively forcing

plaintiffs to choose between engaging in conduct that violates sincerely held religious

beliefs and facing a serious consequence." New Doe Child #1 v. Cong. of United States, 891

F.3d 578,589 (6th Cir. 2018). Indeed, "the Government substantially burdens an exercise

of religion when it places substantial pressure on an adherent to modify his behavior and

to violate his beliefs or effectively bars his sincere faith-based conduct." Id.

         Defendants' single contention that this case does not involve a substantial burden

is that "[t]he 'substantial burden' in this case is not forcing the Plaintiffs to choose

between their religious beliefs and their jobs, but rather the significantly lesser burden

related to traveling internationally to receive one of the several vaccines that does not

involve fetal cell testing and therefore does not violate Plaintiffs' religious beliefs." (Def.

Resp. in Opp., Doc. 27, Pg. ID 1553 at fn. 12). For the reasons below, Defendants' argument

fails.

         Here, Plaintiffs must choose between receiving the COVID-19 vaccine, which as

approved for use in the United States violate Plaintiffs' sincerely held religious beliefs, or

face disciplinary or separation measures including "adverse administrative actions, non-

judicial punishment, administration demotions, administrative discharges, and courts-

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martial." (Deel. of Col. Hernandez, Doc. 27-14, Pg. ID 1941.) The threat of such severe

repercussions can only be seen as requiring Plaintiffs to choose between their religious

beliefs and their livelihoods, which is a classic case of" substantial pressure." See Sherbert

v. Verner, 374 U.S. 398,404 (1963).

         Defendants cite no case law to support their contention that international travel to

take a vaccine that is not currently approved in the United States constitutes a
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     significantly lesser burden." And the Court is unpersuaded by such argument.

Mandating that Plaintiff take a vaccine developed in another country and not subject to

the same oversight or approval required within the United States cannot reasonably be
                II
found to be a significantly lesser burden." It is patently absurd. Thus, the Court finds

that the Air Force Covid Vaccination Mandate constitutes a substantial burden to

Plaintiffs' sincerely held religious beliefs.

                      b.     Compelling Interests

         Thus, the question becomes whether the Air Force can show its vaccine mandate

and blanket denial of religious exemptions further a compelling interest as required by
                                                                                     11
subsection (b) of the RFRA statute. See 42 U.S.C. § 2000bb-l(b)(l). Importantly, RFRA .

. . contemplates a more focused inquiry: It requires the Government to demonstrate that

the compelling interest test is satisfied through application of the challenged law to the

person-the particular claimant whose sincere exercise of religion is being substantially

burdened." Hobby Lobby, 573 U.S. at 726 (quotation omitted).

         Here, the Court must "look beyond formulated interests and to scrutinize the

asserted harm of granting specific exemptions to particular religious claimants ... " Id. at

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726-27 (cleaned up). "That is, [Defendants] must demonstrate a compelling interest

supporting the specific denial of [Plaintiffs'] exemptions and the absence of an alternative

for [Plaintiffs]." Navy Seal 1 v. Biden, No. 8:21-cv-2429, 2021 WL 5448970, at *10 (M.D. Fla.

Nov. 21, 2021). And "[a]lthough '[s]temming the spread of COVID-19 is unquestionably

a compelling interest," its limits are finite." U.S. Navy Seals 1-26, 2022 WL 34443, at *10

(quoting Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020)).

       Defendants argue that denying Plaintiffs' religious exemptions, and virtually all

religious exemption requests, is in furtherance of two compelling interest: (1) stemming

the spread of COVID-19 and (2) military readiness. (See Def. Resp. in Opp., Doc. 27, Pg.

ID 1432-33); (see also Decision on Religious Accommodation Appeal, Plaintiffs Exhibit 8)

(noting in denying an airman's appeal of the denied religious exemption request that

"[t]he Department of the Air Force has a compelling governmental interest in requiring

you to comply with the requirement for the COVID-19 immunization because preventing

the spread of disease among the force is vital to mission accomplishment").

       None of Defendants' stated interests constitute compelling interests justifying the

substantial burden on Plaintiffs' religious liberties. First, RFRA precludes Defendants

from relying on broadly formulated interests such as "national security" and "stemming

the spread of COVID-19" to overcome Plaintiffs' claims. Hobby Lobby, 573 U.S. at 726-27.

Rather, Defendants " must articulate a compelling interest in vaccinating" the Plaintiffs

before this Court. Id. Defendants have failed miserably to do so. Defendants provide no

specific compelling interests in denying these Plaintiffs' specific religious exemptions

while at the same time granting numerous medical and administrative exemptions.

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      Second, even the broad formulaic claims of "stemming the spread of COVID-19"

and promoting military readiness and national security ring hollow in light of the fact

that over 2,500 exempt Airmen are carrying out their respective duties unvaccinated. The

only difference between the over 2,500 Airmen who have otherwise received exemptions

and the 18 Plaintiffs before this Court is solely the type of exemption they requested. It

appears to the Court that the Air Force has freely granted medical and administrative

exemptions while denying almost all religious exemption requests. Thus, by permitting

certain types of exemptions significantly more often than others, the Air Force's mandate

and related grant of exemptions are underinclusive in furtherance of the alleged

compelling interest. And "underinclusiveness ... is often regarded as a telltale sign that

the government's interest in enacting a liberty-restraining pronouncement is not in fact

compelling." BTS Holdings, L.L.C. v. OSHA, 17 F.4th 604,616 (5th Cir. 2021).

       Further, the Court cannot ignore that these Airmen served with loyalty and

conviction during the pandemic, when there was no vaccine. They complied with all

necessary precautionary measures and have continued to do so when required.

Defendants have not identified any specific harm resulting from Plaintiffs' unvaccinated

status at any time during the pandemic or since the mandate has been in place. Indeed,

any such claim would seem manufactured given the thousands of currently exempted,

unvaccinated individuals permitted to work in their normal duty stations. As the court

in Air Force Officer recognized:

       No matter whether one service member is unvaccinated for a medical
       reason and another unvaccinated for a religious reason, one thing remains
       the same for both of these service members-they1re both unvaccinated. In

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       other words, both of these service members pose a similar hazard to
       Defendants' compelling interest in stemming the spread of COVID-19
       within the military.

Air Force Officer, 2022 WL 468799, at *11 (internal quotations omitted).

       Therefore, because Defendants fail to demonstrate a compelling interest

supporting the specific denial of Plaintiffs' exemptions, Defendants have failed to

establish a compelling interest for substantially burdening Plaintiffs' sincerely held

religious beliefs.

                     c.     Least Restrictive Means

       Here, even if Defendants could demonstrate a compelling interest, the Air Force's

COVID-19 vaccination mandate is not the least restrictive means to further any

compelling interests. "The least-restrictive-means standard is exceptionally demanding."

Hobby Lobby, 573 U.S. at 728. When applying the least-restrictive-means standard, a

defendant must show that it "lacks other means of achieving its desired goal without

imposing substantial burden on the exercise of religion by the objecting party." Id.

       First, all Plaintiffs, while unvaccinated, have continued to successfully perform

their duties and heroically accomplish their missions during the pandemic. No Airmen

was vaccinated until the vaccine became readily available, approximately a year after the

pandemic began. The Air Force did not require vaccinations until August of 2021,

approximately 18 months after the pandemic began.

       Moreover, the Plaintiffs have all received temporary exemptions during the course

of their appeal, any disciplinary proceedings, and, potentially, this litigation, meaning

that they have been permitted to continue to work as they have always done. They have

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not been quarantined or prohibited from working in close proximity to anyone. And

during this time, Plaintiffs, and the Air Force, have continued to perform their duties and

accomplish their missions. Thus, the Court is unpersuaded by Defendants' argument

that the least restrictive way to further their compelling interest of military readiness is

by denying almost all religious exemptions while unvaccinated Airmen, including

Plaintiffs, continue to perform their duties. See also U.S. Navy SEALS 1-26, 2022 WL 34443,

at *7 (holding that the Navy's vaccine mandate did not satisfy the least restrictive means

standard because it "treats comparable secular activity (e.g., medical exemptions) more

favorably than religious activity"); Poffenbarger, 2022 WL 594810 at *12 (finding that the

Air Force's denial of plaintiff's religious exemption is not the least restrictive means

because less restrictive means "are being provided ... on non-religious grounds").

       Because the Air Force has willingly and freely granted administrative and medical

exemptions but refuses to grant virtually all religious exemptions, this Court finds that

the Air Force has not satisfied the least-restrictive-means standard.

                                  *      *        *     *      *

       Accordingly, Plaintiffs established that the Air Force's COVID-19 vaccination

mandate is a substantial burden on Plaintiffs' sincerely held religious beliefs. Defendants

failed to establish a compelling interest as to the specific Plaintiffs before the Court to

justify the mandate, and, even if they did, Defendants failed to establish that the mandate

satisfied the least-restrictive-means standard.

       As such, Plaintiffs have a likelihood of success on the merits of their RFRA claim.



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              2.     Free Exercise Clause

       Plaintiffs' second claim is that Defendants' policy of denying substantially all

religious exemptions violates the Free Exercise Clause of the First Amendment.

Defendants argue that the Air Force's COVID-19 vaccination mandate is a " neutral law

of general applicability" and, thus, need only survive rational basis review. (Def. Resp.

in Opp., Doc. 27, Pg. ID 1547.) Plaintiffs, on the other hand, argue that the vaccination

mandate is neither neutral nor generally applicable and, thus, must survive strict

scrutiny, which they argue it cannot. And, Plaintiffs are correct.

       The First Amendment Free Exercise Clause, incorporated by the Fourteenth

Amendment, provides that "Congress shall make no law ... prohibiting the free exercise"

of religion. U.S. CONST. amend. I. "A neutral law of general applicability need not be

justified by a compelling governmental interest even if the law incidentally burdens

religious practices." Dahl v. Bd. of Trs. ofW. Mich. Univ., 15 F.4th 728, 733 (6th Cir. 2021).

"But a law that is not neutral and generally applicable must undergo the most rigorous

of scrutiny." Id.

       "A law is not generally applicable if it invites the government to consider the

particular reasons for a person's conduct by providing a mechanism for individualized

exemptions." Fulton, 141 S. Ct. at 1877. A law or mandate "lacks general applicability if

it prohibits religious conduct while permitting secular conduct that undermines the

government's interest in a similar way."        Id.   "Accordingly, where a state extends

discretionary exemptions to a policy, it must grant exemptions for cases of 'religious

hardship' or present compelling reasons not to do so." Dahl, 15 F.4th at 733 (quoting

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Fulton, 141 S. Ct. at 1877).

       Here, the Air Force's COVID-19 vaccination mandate is not generally applicable

because it allows for medical and administrative exemptions as well as religious

exemptions. An esteemed colleague within this district recently held as much because

"it distinguishes between religious and non-religious exemptions." Poffenbarger, 2022 WL

594810, at *16. Other courts have also held that military COVID-19 vaccination mandates

are not neutral and generally applicable. See Air Force Officer, 2022 WL 468799 at *12; see

also U.S. Navy Seals 1-26, 2022 WL 34443 at *11. Thus, because this Court finds the Air

Force's vaccination mandate to be neither neutral nor generally applicable, the Air Force

must overcome strict scrutiny.

       For Defendants to prevail under strict scrutiny, they must "show that [the Air

Force's] failure to exempt [Plaintiffs] serves interests of the highest order and is narrowly

tailored to achieve those interests." Dahl, 15 F.4th at 734-35. Like in Dahl, here, "the

question before [this Court] is not whether [the Air Force] has a compelling interest in

enforcing its vaccine policies generally, but whether it has such an interest in denying an

exemption to [P]laintiffs, and whether its conduct is narrowly tailored to achieve that

interest." Id. at 735; see also Fulton,141 S. Ct. at 1881 (same).

       Defendants do not establish a compelling interest in denying Plaintiffs'

exemptions, on the one hand, while granting thousands of medical and administrative

exemptions, on the other, relatively none. Like the Sixth Circuit held in Man;ville Baptist

Church, "restrictions inexplicably applied to one group and exempted from another do

little to further [Defendants'] goals and do much to burden religious freedoms."

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Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610, 615 (6th Cir. 2020). And, this Court

held above that the Air Force' COVID-19 vaccination mandate is not narrowly tailored.

Thus, Defendants fail to satisfy strict scrutiny, because "[w]hile the law may take periodic

naps during a pandemic, we will not let it sleep through one." Id.

       In a last ditch effort to persuade the Court, Defendants rely on the long standing

principle of military deference. Whether military deference should be considered "stands

as a separate option open to the military to justify [a] regulation" being challenged under

the First Amendment. Poffenbarger, 2022 WL 594810 at *17 (quoting Harmann v. Stone, 68

F.3d 973, n.7 (6th Cir. 1995)). This Court also recognizes that courts have consistently

deferred to military decision-making. See Goldman v. Weinberger, 475 U.S. 503 (1986); see

also Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7 (2008).

       However, such deference can only go so far. The Supreme Court has explained

that it "neither hold[s] nor impl[ies] that the conduct of [a military division] is always

beyond judicial review or that there may not be accountability in a judicial forum for

violations of law for specific unlawful conduct by military personnel, whether by way of

damages or injunctive relief." Gilligan v. Morgan, 413 U.S. 1, 12 (1973). And "some First

Amendment protection still exists" beyond military deference. Hartmann, 68 F.3d at 984.

       The evidence before this Court is sufficient to establish that, at this stage of the

litigation, Defendants' overt policy to deny substantially all religious exemptions violates

the Free Exercise Clause, as well as RFRA. Here, "Defendants essentially want 'the Court

to accord a degree of deference that is tantamount to unquestioning acceptance, which is

not the proper function of a court in a RFRA' or First Amendment case." Poffenbarger,

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2022 WL 594810, at *18 (quoting Singh v. McHugh, 185 F.Supp.3d 201,221 (D.D.C. 2016)).

The Court will not turn a blind eye to such apparent and serious violations of the Free

Exercise clause.

       Clearly, Plaintiffs have established a likelihood of success on the merits of their

Free Exercise Clause claim, as well.

       B.     Irreparable Harm

       "To merit a preliminary injunction, an injury must be both certain and immediate,

not speculative or theoretical." D. T. v. Sumner Cnty. Schs., 942 F.3d 324,327 (6th Cir. 2019).

First, " [a] plaintiff's harm from the denial of a preliminary injunction is irreparable if it is

not fully compensable by monetary damages." Certified Restoration Dry Cleaning Network,

L.L.C. v. Tenke Corp., 511 F.3d 535, 550 (6th Cir. 2007). Thus, if monetary damages are

difficult to calculate, then "the injury is not fully compensable by monetary damages."

Id. My colleague within this district has previously determined that, in the case where

an airman is facing punitive action for refusing to receive the COVID-19 vaccination in

violation of the Air Force's mandate, "[m]uch of the alleged harm to [plaintiff] is not

irreparable." Poffenbarger, 2022 WL 594810 at *18. In Poffenbarger, the plaintiff faced the

similar, if not identical, punitive action as Plaintiffs face in this case. Id. at *5. Thus, the

punitive action that may be taken against Plaintiffs if they to refuse to get vaccinated

without an exemption does not, alone, establish irreparable harm.

       Yet, even if the harm is fully compensable by monetary damages, the Sixth Circuit

has previously found that violations of the First Amendment and RFRA rights satisfy the

irreparable harm requirement. Maryville Baptist Church, Inc., 957 F.3d at 615-16 (finding

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restriction that burdened religion" assuredly inflicts irreparable harm"); Autocam Corp. v.

Sebelius, 730 F.3d 618 (6th Cir. 2013) (same). Unquestionably, the loss of First Amendment

freedoms, for even minimal periods of time, "constitutes irreparable injury." Elrod v.

Burns, 427 U.S. 347, 373 (1976). "This principle also applies to violation of rights under

the RFRA." Poffenbarger, 2022 WL 594810 at *19.

       Additionally, Courts with similar issues presented to them in the past few months

have determined that "the substantial pressure on a religious objecting service member

to obey the COVID-19 vaccination order and violate a sincerely held religious belief

constitutes an irreparable injury redressable by a preliminary injunction." Navy Seal 1 v.

Austin, No. 8:21-cv-2429, 2022 WL 534459, at *19 (M.D. Fla. Feb. 18, 2022); see also Air Force

Officer, 2022 WL 468030 at *12 (finding that the plaintiff established irreparable injury

because her religious exemption request was denied by the Air Force and such denial

"essentially infringed upon the free exercise of her religion"); U.S. Navy Seals 1-26, 2022

WL 34443 at *3 ("But because these injuries are inextricably intertwined with Plaintiffs'

loss of constitutional rights, this Court must conclude that Plaintiffs have suffered

irreparable harm").

       As such, because this Court finds Plaintiffs have established a likelihood of success

on the merits for their RFRA and Free Exercise Clause claims, Plaintiffs have also

established irreparable harm.

       C.     Substantial Harm to Others & Public Interest

       As noted above, the third and fourth requirements for issuance of a preliminary

injunction-the balance of harms and whether the requested injunction will disserve the

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public interest- "merge when the Government is the opposing party." Nken v . Holder,

556 U.S. 418, 435 (2009). Defendants argue that these factors "tilt decisively against

granting a preliminary injunction here." (Def. Resp. in Opp., Doc. 27, Pg. ID 1552.) The

Court acknowledges that weighty public interests are being considered in this case. First,

"it is always in the public interest to prevent the violations of a party's constitutional

rights." Dahl, 15 F.4th at 736. However, the Court also acknowledges the strong public

interest in national defense, including military readiness. See Winter, 555 U.S. at 24. As

this Court explains in greater detail below, the limited scope of this preliminary

injunction will not cause substantial harm to the Air Force because "[Plaintiffs'] religious-

based refusal to take a COVID-19 vaccine simply isn't going to halt a nearly fully

vaccinated Air Force's mission to provide a ready national defense." Air Force Officer,

2022 WL 468799, at *12.

         Therefore, because Plaintiffs' harm and the public interest in preventing

constitutional rights violations outweigh any nominal harm the Air Force may sustain

due to Plaintiffs' vaccination status, the third and fourth factors weigh in favor of a

preliminary injunction.

VI.      SCOPE OF INJUNCTION

      Plaintiffs originally sought a nationwide preliminary injunction granting broad

injunctive relief. Specifically,

         Plaintiffs request a preliminary injunction ... that (i) requires the immediate
         processing and acceptance of Plaintiffs' religious accommodation requests
         under RFRA; (ii) requires timely and good faith processing of other
         religious accommodation requests in accordance with the timelines [sic]
         contained in current Department of Defense instructions, and appropriately

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       considers whether such requests can be accommodated within the
       framework of RFRA and its least restrictive means (as well as a fulsome
       consideration of alternatives to denies of such request); and (iii) ceases the
       Defendants' current policy of engaging in a double standard between, on
       the one hand, granting, where appropriate, medical and administrative
       exemptions but, on the other hand, almost never granting religious
       exemptions.

(PL Motion for Prelim. Inj., Doc. 13, Pg. ID 598-99.)

       Defendants argued that "such universal and class-wide injunctive relief" is

improper here "even if the Court determined that Plaintiffs were entitled to some

individual relief at this stage." (Def. Response in Opp., Doc. 27, Pg. ID 1554.) However,

Plaintiffs have since revised their requested relief and now "seek only the relief that

extended to the portion of the lower court judgment [in U.S. Navy Seals 1-26, 2022 WL

34443] that the Supreme Court left in place [in Austin v. U.S. Navy Seals 1-26, No.21A477,

2022 WL 882559 (Mem) (2022)]: a prohibition against disciplinary or separation measures

to these Plaintiffs under RFRA." (Plaintiffs Response to Defendants' Notice of Additional

Authority, Doc. 44, Pg. ID 3062.)

       "The purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held." Camenisch, 451 U.S. at 395.

As the Supreme Court recently explained, "[c]rafting a preliminary injunction is an

exercise of discretion and judgment, often dependent as much on the equities of a given

case as the substance of the legal issues it presents. Trump v. Int'l Refugee Assistance

Project, 137 S.Ct. 2080, 2087 (2017). A court should limit its preliminary injunction that

"goes beyond a restoration of the status quo and impose new obligations" on a party. See

Blaylock v. Cheker Oil Co., 547 F.2d 962, 965 (6th Cir. 1976) (finding that a district court's

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preliminary injunction that went "beyond the restoration of the status quo and impose[d]

new obligations on" the defendant was an abuse of discretion).

       The Court finds the targeted relief Plaintiffs now seek is "a prohibition against

disciplinary or separation measures to these Plaintiffs under RFRA," and thus the Court

grants a preliminary injunction of such scope, enjoining Defendants from taking any

adverse or punitive action, including but not limited to disciplinary or separation

measures, against the Plaintiffs in this case for their refusal to receive the COVID-19

vaccine, while keeping in place the current temporary exemption.

       The Court's conclusion is not affected by the Supreme Court's recent decision in

Austin v. U.S. Navy Seals 1-26, 2022 WL 882559, or Justice Kavanaugh' s concurrence which

cautions against intervention in the military' s chain of command.           That case is

distinguishable from the present one, and this Court's injunction. As set forth below, the

injunction in this case is limited to solely these Plaintiffs and only maintains the status

quo by maintaining the current temporary exemptions and prohibiting adverse or

punitive action against those Plaintiffs for their refusal to receive the COVID-19 vaccine.

It does not affect the Air Force's ability to make operational decisions, including

deployability decisions.

VII.   FINAL THOUGHTS

       This case presents the constitutional collision of brave men and women serving in

the Air Force sincerely trying to exercise their religious beliefs and their esteemed

superiors who have loaded their weapons against them. During this preliminary

injunction hearing the Court watched and heard the testimony of Plaintiffs, some

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appearing in their full military uniforms and others also in uniform with their young

families, watching for justice to unfold in this case. And, at that moment, the Court

wondered what General George Washington would think of this battle between the

Executive branch, the First Amendment and RFRA. In fact, the Court asked counsel that

question.

       As America's first and perhaps finest general, Washington's watchwords

completely captured this Court's own thinking in a way that borders the prescient. In a

letter dated 27 January 1793 to the New Jerusalem Church of Baltimore, he wrote:

      We have abundant reason to rejoice, that in this land the light of truth and
      reason have triumphed over the power of bigotry and superstition, and that
      every person may here worship God according to the dictates of his own
      heart. In this enlightened age and in this land of equal liberty, it is our boast,
      that a man's religious tenets will not forfeit the protection of the laws, nor
      deprive him of the right of attaining and holding the highest offices that are
      known in the United States.

Founders Online, From George Washington to the Members of the New Jerusalem Church of

Baltimore, 27 January, 1793, http://founds.archives.gov/documents/Washington/05-12-

0027#print view (last visited March 30, 2022).

       Yet here and now, the Air Force has put these Airmen in the unconscionable

position of choosing between their faith in an eternal God and their career in the United

States military. Indeed, active duty Lt. Col. Edward Joseph Stapanon, III, who logged 174

hours of combat time flown in Operation Iraqi Freedom and earned two air medals,

testified in the preliminary injunction hearing in this case as follows:

       Q : Now, you understand the seriousness of things, of the decision that
       you're making today; correct?


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        A: Yes, ma' am, I do.

        Q: And if pushed, will you in fact go to prison to stand behind your
        religious beliefs?

        A: Yes, Ma'am. I don' t see that I have any other alternative. When I meet
        my maker, I'm going to be held responsible for the decisions I've made, and
        I'd much rather go to prison. There's been a lot of saints that have gone to
        prison, so I'm willing to do that.

(Transcript of Excerpt of Preliminary Injunction Hearing, Testimony of Edward Joseph

Stapanon, Ill, Doc. 45, Pg. ID 3076-77.)

        As such, decorated Lt. Col. Stapanon, who also testified that there is a shortage of

pilots, would rather endure prison than betray his sincerely held religious beliefs. And,

the enforcement of this vaccine mandate would take this American hero and his other

patriots and discharge them from their hard-earned duty stations.

        Accordingly, and with a respectful nod of gratitude to the Father of our great

country, this Court, as a sworn guardian of the Constitution, will not order the Air Force

personnel at this stage to forfeit the protections of our laws and of the Free Exercise

Clause of the First Amendment.

VIII. CONCLUSION

        For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART

Plaintiffs' Motion for a Preliminary Injunction. Thus, the Court ORDERS the following:

   1.   Defendants, as well as any persons acting in concert with Defendants, are

        enjoined and restrained from taking any disciplinary or separation measures

        against the Plaintiffs named in this action for their refusal to get vaccinated for

        COVID-19 due to their sincerely held religious beliefs. Such disciplinary or

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     separation measures include, but are not limited to, "adverse administrative

     actions, non-judicial punishment, administration demotions, administrative

     discharges, and courts-martial." (Dec. of Col. Hernandez, Doc. 27-14, Pg. ID 1941);

  2. Defendants, as well as any person acting in concert with Defendants, are enjoined

     and restrained from taking any adverse action against Plaintiffs on the basis of this

     lawsuit or their request for religious accommodation from the COVID-19 vaccine;

  3. Thus, the temporary exemptions from taking the COVID-19 vaccine currently in

     place for these Plaintiffs shall remain in place during the resolution of this

     litigation;

  4. In accordance with Federal Rule of Civil Procedure 65(d)(2), this Order binds the

     following who receive actional notice of it by personal service or otherwise: the

     parties; the parties' officers, agents, servants, employees, and attorneys; and other

     persons who are in active concert or participation with the parties or the parties'

     officers, agents, servants, employees, and attorneys;

  5. Pursuant to Federal Rule of Civil Procedure 65(c), the Court has considered the

     need for Defendants to post security and concludes that no sum is required under

     the facts of this case; and

  6. Plaintiffs' Emergency Motion for Temporary Restraining Order as to Hunter

     Doster (Doc. 19) is DENIED AS MOOT.




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      IT IS SO ORDERED this 31 st day of March, 2022.



                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF OHIO

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                                            JUDGE MATTHEW W. McFARLAND




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